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 7
 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA

10   ORLANDO GARCIA,                      )          Case No.: 2:20-CV-08013-PSG-RAO
                                          )
11              Plaintiff,                )          NOTICE OF SETTLEMENT AND
                                          )          REQUEST TO VACATE ALL
12       v.                               )          CURRENTLY SET DATES
                                          )
13   SEHAN LOS ANGELES, LLC, a California )
     Limited Liability Company; JACOB     )
14   YOONSUP HWANG; and Does 1-10,        )
                                          )
15                                        )
                Defendants.               )
16                                        )
17         The plaintiff hereby notifies the court that a provisional settlement has been
18   reached in the above-captioned case. The Parties would like to avoid any additional
19   expense while they focus efforts on finalizing the terms of the settlement and reducing
20   it to a writing.
21          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
22   dates with the expectation that the settlement will be consummated within the coming
23   sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice as to all
24   parties to be filed.
25
26   Dated: January 15, 2021                CENTER FOR DISABILITY ACCESS
                                            By: /s/Amanda Seabock
27
                                                Amanda Seabock
28                                              Attorney for Plaintiff


     Notice of Settlement                     -1-                2:20-CV-08013-PSG-RAO
